                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA



 JASON KESSLER
 and NATIONAL SOCIALIST                           )
 MOVEMENT and TRADITIONALIST                      )
 WORKER’S PARTY                                   )
                                                  )
                                                  )                       Case No.:
                                                  )
        Plaintiffs,                               )               AMENDED COMPLAINT
                                                  )
             v.                                   )
                                                  )                      JURY DEMAND
                                                  )
 CITY OF CHARLOTTESVILLE,                         )
 VIRGINIA; AL THOMAS; BECKY                       )
 CRANNIS-CURL                                     )
                                                  )
                                                  )
        Defendants.                               )




        Plaintiffs, for their Complaint against the above named Defendants, state as

 follows:



        1.        This is an action for violations of Plaintiffs civil and constitutional rights

                  under the First and Fourteenth Amendments, 28 USC §2201 and §2202;

                  42 USC § 1983 et seq., and demanding relief under Federal Rules of Civil

                  Procedure 57 and 65. Defendants, by their acts, policies, practices,

                  customs, and/or procedures deprived Plaintiff’s of their right to engage in




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             political speech and expressive activities during the “Unite the Right” rally

             in Charlottesville, VA on August 12, 2017.



                                            Parties

       2.    Plaintiff Jason Kessler is a citizen of the United States and of the

             Commonwealth of Virginia. He was the organizer of the “Unite the Right”

             (“UTR”) rally.

       3.    Plaintiff National Socialist Movement (“NSM”) is a corporation organized

             under the laws of the Michigan having it’s principal place of business in

             Michigan. NSM was formed and exists for the purpose of engaging in

             political advocacy. NSM members were present and attempted to engage

             in political speech and expressive activities at UTR.

       4.    Plaintiff Traditionalist Worker’s Party (“TWP”) is a corporation organized

             under the laws of Michigan having it’s principal place of business in

             Michigan. TWP was formed and exists for the purpose of engaging in

             political advocacy. TWP members were present and attempted to engage

             in political speech and expressive activities at UTR.

       5.    Defendant City of Charlottesville is a municipality located in the

             Commonwealth of Virginia. It is sued via a Monell claim due to the

             misconduct of it’s law enforcement final policy maker.

       6.    Defendant Al Thomas was the Chief of Police of Charlottesville VA, and

             therefore a final policymaker, during all relevant times. He is sued in his

             individual and official capacities.




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       7.    Defendant Becky Crannis-Curl is a Virginia State Trooper (“VSP”)

             holding the rank of Lieutenant. She is sued in her individual capacity.



                                    Jurisdiction and Venue

       9.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,

             § 1343, §2201 and §2202; 42 USC § 1983 et seq., and Federal Rules of

             Civil Procedure 57 and 65. Venue is proper over each claim and each

             defendant pursuant to 28 U.S.C. §1391(b)(1) and/or (b)(2).



                                            Facts

       10.   Jason Kessler wished to engage in expressive political activity in

             opposition to a proposal by Charlottesville City Council to remove the

             statue of Confederate General Robert E. Lee from the former Lee Park in

             Charlottesville.

       11.   Toward that end he sought to organize a political rally by persons or

             groups who were willing to oppose the removal of the statue.

       12.   Plaintiffs NSM, and TWP were willing to support this rally, or at least

             had some members who wished to do so.

       13.   Mr. Kessler was scheduled to speak at the rally and the other plaintiffs

             wished to hear Mr. Kessler and the other scheduled speakers and publicly

             demonstrate support for the them in the face of anticipated counter

             protests. Mr. Kessler, as well as some members of all other plaintiffs, were




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             present in Charlottesville and attempted to speak at or otherwise

             participate in the UTR rally.

       14.   The need for supporting speakers in the face of counter protests was no

             inchoate philosophical musing in 2017 in Charlottesville.

       15.   Prior to Mr. Kessler’s UTR event, on July 8, 2017, persons calling

             themselves “Ku Klux Klan” (“KKK”) held a rally in Charlottesville.

       16.   The KKK event drew numerous violent counter protestors.

       17.   At both the beginning and the conclusion of the KKK event

             Charlottesville police had to form a corridor or picket line of police to

             allow KKK members to enter and exit their rally area.

       18.   This was necessary as hundreds of violent counter protestors had blocked

             the KKK members ingress and egress routes and were assaulting both

             KKK members and police officers.

       19.   Charlottesville police Lt. Durrette reported counter protestors threw

              tomatoes and water bottles and spit on police officers.

       20.    One counter protestor reached past a police officer and punched a KKK

             member in the face.

       21.   So out of the control were the violent counter protestors that police told

             KKK to just keep moving through the mob rather than arrest the

             persons assaulting both KKK members and police officers.

       22.   The police successfully got the KKK members to a parking garage

             containing their vehicles, but the violent counter-protestors blocked the

             exits to the garage.




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       23.   The police therefore declared the violent counter protestors an unlawful

              assembly under Virginia law and used force to clear the parking garage

             exits.

       24.   KKK members were thereafter able to safely exit the area.

       25.   Police ultimately made 22 arrests stemming from this violence, none of

             whom were Klan members.

       26.   In the wake of July 8, 2017 KKK event the Charlottesville police were

             heavily criticized by some in the local community.

       27.   The police were not criticized for failing to adequately keep the peace on

             July 8, but rather for being too harsh in their treatment of the violent

             counter-protestors.

       28.   At a public City Council meeting on July 17, 2017 the Council was

             peppered with citizen comments complaining about police overreaction to

             violent protestors and insisting that police had no duty to protect “hate

             speech” of the Klan members.

       29.   Some citizens made specific reference to the forthcoming UTR rally and

             demanded to know what the police were going to do about it. The crowd

             also demanded that Mr. Kessler’s permit to hold his UTR rally be revoked

             by Charlottesville.

       30.   Thereafter, the City actually revoked a permit that had been issued to Mr.

             Kessler to hold his UTR rally in a park holding the General Lee statue in

             Charlottesville.

       31.   This revocation necessitated Mr. Kessler suing the City in federal Court.




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       32.   The Western District of Virginia ultimately ruled in Mr. Kessler’s favor

             And ordered the City to permit the Plaintiff’s their political speech and

             expressive activities on August 12, 2017 in Charlottesville.

       33.   At the actual UTR event on August 12, 2017 Chief Thomas and Lt.

             Crannis-Curl were present in a supervisory and/or final decision making

             capacity. Charlottesville police divided the protest area up into 5 police

             zones. Each zone had a police supervisor and Lt. Crannis-Curl supervised

             all VSP present.

       34.   Former Chief Al Thomas was present in his capacity as Chief of Police of

             the Charlottesville City Police Department. As Chief, Mr. Thomas was a

             final decision maker regarding law enforcement in Charlottesville at all

             relevant times.

       35.   Lt. Becky Crannis-Curl was a Lieutenant serving as Ground Commander

             for all Virginia State police officers present.

       36.   Upon being advised that violence had broken out the Chief stated, in a

             complete capitulation to violent counter protestors, “Let them fight, it will

             make it easier to declare an unlawful assembly.”

       37.   After UTR Al Thomas destroyed relevant evidence by deleting text

             messages and other electronic information and then using personal e-mail

             to discuss particularized FOIA requests by the Charlottesville’s own

             choice for professional review of the event.

       38.   Al Thomas falsely denied wrongly using his personal email to deal with

             public records requests.




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       39.   Many Charlottesville police officers told investigators working for the

             City that they feared “retribution” from Al Thomas if they told the truth

             about protest events.

       40.   Lt. Crannis-Curl allowed the heckler’s veto as soon as people began

             arriving for the UTR event. She advised fellow VSP members that she was

             going “off-plan” and refused to send “arrest teams” into the street.

       41.   Lt. Crannis-Curl effectively communicated this order to all VSP under her

             command.

       42.   Other VSP troopers advised Charlottesville police that they would not

             send VSP troopers to engage the crowd “if safety was compromised.” Still

             other VSP officers advised either citizens or City police they were “under

             orders” not to intervene or “not to break up fights.”

       43.   So strictly did VSP adhere to this non-intervention order that even when

             citizens directly begged for help the VSP refused stating they were ”not

             available” to help. Another VSP trooper advised a citizen he would not

             intervene until “ordered to do so.”

       44.   As if this were not bad enough a Charlottesville politician witnessed a man

             fire a handgun into the ground nearby numerous persons.

       45.   The politician followed the shooter and identified him and his illegal

             conduct to a nearby VSP trooper. The trooper took no action whatsoever

             even though a public official had made the report.

       46.   Charlottesville police were operating under a similar non-intervention

             order initiated by Chief Al Thomas.




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       47.   On July 8, 2017 the Charlottesville police had done their jobs and

             separated protestors from violent counter protestors.

       48.   In preparation for UTR on August 12, 2017 Chief Thomas made it very

             clear that his police would not be doing their jobs this time.

       49.   Chief Thomas told his subordinates after the July 8 event that “I’m not

             going to get [protestors] in and out” during the UTR rally.

       50.   On August 12 Chief Thomas, when advised that fights were occurring at

             UTR ordered “let them fight, it will make it easier to declare an unlawful

             assembly.”

       51.   A third party report commissioned by the City after August 12 found that

             “Rather than engage the crowd and prevent fights, the [Charlottesville

             police department] plan was to declare the event unlawful and disperse the

             crowd.”

       52.   Charlottesville officers received the orders implementing this plan loud

             and clear.

       53.   Charlottesville Officers told third party investigators that they had been

             ordered not to engage over “every little thing”; not to “go in and break up

             fights”; not to interrupt “mutual combat”; and officers were not to be sent

             out among the crowd where they might get hurt.

       54.   Charlottesville police obeyed these orders. At one point a citizen begged

             them to do something while fighting broke out directly in front of

             Charlottesville police officers. The fighting had started when counter

             protestors crowded around a park entrance and refused UTR attendees




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             access to the rally location. The officers simply stood in silence staring at

             the results of this in progress heckler’s veto.

       55.   Eventually, law enforcement moved in, broke up the fighting and declared

             an unlawful assembly, this time not just against violent counter-protestors

             as on July 8th , but against everybody.

       56.   As a result, neither Mr. Kessler nor anyone else was able to speak at the

             UTR rally. Plaintiffs were unable to peacefully rally, hear any of the

             speakers, or engage in other lawful political speech or expressive activity.

             Moreover, Plaintiffs were forced to defend themselves from physical

             violence wrongfully perpetrated by violent counter protestors.

       57.   Defendants expected violent counter protestors to attempt a hecklers veto

             on of the UTR rally.

       58.   Defendants had received intelligence prior to August 12, 2017 that violent

             counter protestors would be in attendance and planning to engage in

             violence including by throwing soda cans filled with concrete.

       59.   The night and day difference between police activity on July 8, 2017 and

             August 12, 2017 coupled with the knowledge that violent counter

             protestors would again be present on August 12, establishes that

             defendants willfully, maliciously, and with deliberate indifference to the

             Plaintiff’s rights, acquiesced in a heckler’s veto of the Plaintiffs on August

             12, 2017.

       60.   The City of Charlottesville routinely grants permits for public spaces to




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             persons it deems to have non-controversial or acceptable political views. It

             also permits unpermitted and technically unlawful rallies to be held by

             those with what the City considers acceptable political views.

       61.   Yet the defendants acquiesced in a heckler’s veto of the plaintiff’s views

             because Charlottesville is the “capital of the resistance” and “intolerance is

             not welcome here.”

       62.   All actions of all defendants complained of herein were taken under color

             of state law and were deliberately indifferent to the rights of the plaintiffs.



                                      First Cause of Action

                             (Freedom of Speech-First Amendment)



       63.   Plaintiff realleges the foregoing paragraphs as if fully rewritten herein.

       64.   By reason of the aforementioned acts, policies, practices, procedures,

             and/or customs, created, adopted, and enforced under color of state law,

             Defendants have deprived Plaintiffs of their right to freedom of speech in

             violation of the First Amendment as applied to the states and their political

             subdivisions under the Fourteenth Amendment to the United States

             Constitution and 42 U.S.C. § 1983.

       65.   At the time Plaintiffs were ordered to leave the UTR rally they were

             attempting to engage in speech activity that was protected by the First

             Amendment. Defendants’ actions injured Plaintiffs in a way likely to chill

             a person of ordinary firmness from further participation in that activity.




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             Plaintiffs’ constitutionally protected activity motivated Defendants’

             adverse actions. Thus, Defendants acted with a retaliatory intent or

             motive.

       66.   It was clearly established on August 12, 2017, that Defendants had a

             constitutional duty not to ratify and effectuate a heckler’s veto nor join a

             mob of counter protestors intent on suppressing speech. Instead,

             Defendants were required to take reasonable action to protect from

             violence persons exercising their constitutional rights, including Plaintiffs.

             By failing to do so, Defendants violated Plaintiffs’ rights protected by the

             First Amendment.

       67.   By effectuating or acquiescing in the heckler’s veto in this case

             Defendants’ actions were content- and viewpoint-based in violation of the

             First Amendment.

       68.    Defendants’ heckler’s veto policy and/or practice and its enforcement

             against Plaintiffs as set forth in this Complaint violated Plaintiffs’ right to

             freedom of speech protected by the First Amendment. Defendant’s actions

             were taken under color of state law and were willful, wanton, malicious,

             and/or deliberately indifferent to Plaintiff’s rights.

       69.   As a direct and proximate result of Defendants’ violation of the First

             Amendment, Plaintiffs have suffered irreparable harm, including the loss

             of their fundamental constitutional rights, entitling them to declaratory and

             injunctive relief and damages.

                                     Second Cause of Action




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                          (Equal Protection-Fourteenth Amendment)



       70.   Plaintiff realleges the foregoing paragraphs as if fully rewritten herein.

       71.   By reason of the aforementioned acts, policies, practices, procedures,

             and/or customs, created, adopted, and/or enforced under color of state law,

             Defendants have deprived Plaintiffs of the equal protection of the law

             guaranteed under the Equal Protection Clause of the Fourteenth

             Amendment to the United States Constitution and 42 U.S.C. § 1983.

       72.   By granting use of a public forum to people whose political views

             Defendants find acceptable, but denying use to those expressing less

             favored or more controversial views, such as those expressed by Plaintiffs,

             Defendants have violated the Equal Protection Clause of the Fourteenth

             Amendment.

       73.   Defendants’ policy, practice, and actions as applied against

             Plaintiffs’ political speech activity on August 12, 2017 violated the Equal

             Protection Clause of the Fourteenth Amendment. Defendant’s actions

             were taken under color of state law and were willful, wanton, malicious,

             and/or deliberately indifferent to Plaintiff’s rights.

       74.   As a direct and proximate result of Defendants’ violation of the Equal

             Protection Clause, Plaintiffs have suffered irreparable harm, including the

             loss of their fundamental constitutional rights, entitling them to

             declaratory and injunctive relief and damages.

                                     Third Cause of Action




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                                     (Supervisory Liability)

       75.   Plaintiffs reallege the foregoing paragraphs as if fully rewritten herein.

       76.   Defendants Thomas and Crannis-Curl were both supervisors of police

             personnel on August 12, 2017.

       77.   Defendants Thomas and Crannis-Curl each issued orders and/or

             acquiesced in actions that violated the rights of the plaintiffs as stated

             herein. Defendants Thomas and Crannis-Curl each reasonably could have

             and should have stopped, or tried to stop, the heckler’s veto from

             occurring. Instead, they each took affirmative steps to see that said

             heckler’s veto successfully negated the Plaintiff’s rights.

       78.   Defendants Thomas and Crannis-Curl’s misconduct was taken under color

             of state law and was willful, wanton, malicious, and/or deliberately

             indifferent to the constitutional rights of the plaintiffs.

       79.   As a direct and proximate result of Defendants’ actionable misconduct,

             Plaintiffs have suffered irreparable harm, including the loss of their

             fundamental constitutional rights, entitling them to declaratory and

             injunctive relief and damages.



       WHEREFORE, Plaintiffs demand judgment against the Defendants as follows:

                   A. to declare that Defendants violated Plaintiffs’ fundamental

                       constitutional rights as set forth in this Complaint;




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                  B. to permanently enjoin Defendants’ heckler’s veto policy and

                     practice and its application to Plaintiffs’ speech and related

                     activities as set forth in this Complaint;

                  C. To award Plaintiffs nominal damages against Charlottesville and

                     all official capacity defendants;

                  D. To award Plaintiffs compensatory damages in an amount to be

                     shown at trial against all individual capacity defendants;

                  E. Punitive damages against all individual capacity defendants;

                  F. Costs incurred in this action;

                  G. Reasonable attorney fees;

                  H. Prejudgment interest;

                  I. Such other and further relief as the Court may deem just and

                     proper.

                                                   Respectfully Submitted,


                                                   s/ Elmer Woodard____________

                                                   Elmer Woodard
                                                   Attorney at Law
                                                   5661 US Hwy 29
                                                   Blairs VA 24527
                                                   434-878-3422
                                                   VSB 27734
                                                   isuecrooks@comcast.net
                                                   Trial Attorney for Plaintiffs



                                                   s/
                                                   ____________________________

                                                   JAMES E. KOLENICH (0077084)



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                                          Kolenich Law Office
                                          9435 Waterstone Blvd. #140
                                          Cincinnati, OH 45249
                                          (513) 444-2150
                                          (513) 297-6065 (fax)
                                          jek318@gmail.com
                                          PHV pending




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